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                                                                                      7


                                                                                            May 27, 2021

                                    U NITED STA TE S D ISTRICT C O U RT
                                    SO UTH ERN DISTR ICT O F FLO R IDA
                         21-14021-CR-CANNON/MAYNARD
                                    CA SE N O .
.
                                                18u.s.c.j3261(a)
                                                18U.S.C.j1466A(a)(2)
                                                18U.S.C.j2252A(b)(1)
                                                18U.S.C.j24224b)
                                                18U.S.C.j1467
                                                18U.S.C.j22534a)
                                                18U.S.C.j981(a)(1)(C)

         U M TED STATE S O F AM ERICA

         VS.


         G AR RE TT NH CH AEL PAK O ,
    .
               a/k/a ddlfinlty Bear,''
               a/k/a <KK .K ing,''

                        D efendant.
                                                       /

                                                    IN DIC TM EN T

                TheGrand Jury chargesthat:

                                          G EN ER AL A LLEG A TIO N S

                1.     The conductalleged in thislndictmentoccurred outside thejtzrisdiction ofany
         particularStateordistrictandwithinthevenueoftheUnited StatesDistrictCotlrtforthe Southern

         DistrictofFlorida,asprovidedby 18U.S.C.j3238.Thelastknownresidenceofthedefendant,
         G AR RETT M TCH AEL PM fO ,a/k/a <<lfinlky Bearr''a/k/a (<K .K ing,''w asin V enus,Florida,

         w ithin the Southern D istrictofFlorida.

                2.     At al1 tim es m aterial to this Indictm ent,from on or about Febnzary 13, 2020,

         through on or aboutJtm e 9,2020,the defendant,G A RR ETT M ICH A EL PA K O ,a/k/a ddlfinlky
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 Beary''a/lt/a<KK.K ing,''acitizenoftheUnitedStates,wasemployedby theArmed Forcesoutside

 theUnitedStates,asdefinedin 18U.S.C.j326741),thatis:
                a.     The defendant was em ployed as a security guard for Chenega Sectlrity,

 wllich is a contractor and subcontractor for the D epartm entof D efense,and w as stationed ator

 neartheShnrikiComm lmicationsSitein Japan;

                b.     The defendantw aspresentand residing outside the U nited States,irlJapan,

 in connection w ith such em ploym ent;and
                                                                   .      l
                       The defendantw asnotanationaloforordinarily aresidentin Japan.

                Theconductdescribedherein constimtesan offensewhich would beplnishableby

 imprisonm entfor m ore than one year if the conducthad been engaged in within the special

 maritimeandtenitorialjurisdiction oftheUnitedStates.
                                         CO U N T 1
            Distribution ofVisualR epresentationsofthe SexualAbuse ofC hildren
                      (18U.S.C.jj1466A(a)(2),2252A(b)(1),and3261(a))
                Thegeneralallegationssetforth in paragraphs 1through 3 ofthisIndictmentare

 re-alleged and expressly incop oratedherein asifsetoutin 1 11.

                O n oraboutM ay 26,2020,the defendant,

                                 GARRETT M ICHAEL PAK O,
                                    a/k/a <ilfinky Bear,''
                                      a/k/a <$K K ing,''

 within the specialmaritime and tenitorialjtlrisdiction of the United States,did knowingly
 distribute avisualdepidion ofany kind,including adrawing and cartoon,thatdepicted an im age

 that w as,and appeared to be,of a m inor engaged in sadistic atzd m asochistic abuse and sexual

 intercourse, and lacked serious literary, artistic, political, and scientific value,and such visual

 depiction had been shipped and t'
                                 ranspoded in interstate and foreign com m erce by any m eans,
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 including by computér,in violation of Title 18,United States Code,Sections 1466A(a)(2),
 2252A(b)(1),an.
               d 3261(a).
                                          CO UN T 2
         A ttem pted Coercion and Enticem entofa M inor to Engage in SexualA ctivity
                                  (18U.S.C.jj2422(18 and 3261(a))
                The generalallegations setforth in paragraphs 1 through 3 ofthis Indictm entare

 re-alleged and expressly incorporatedherein asifsetoutin 1 11.

                From on oraboutFebruary 13,2020,through on or aboutAugust23,2020,the

 defendant,

                                   G A RR ETT M ICH AEL PAK O ,
                                        a/k/a Sdlfinlty Bear,''
                                          a/k/a $dK K ing,''

 within thespecialmaritimeandtenitorialjurisdictionoftheUrtited States,using any facilityand
 meansofinterstate and foreign comm erce,thatis,M eetM e,Kik,and Line,internetapplications,

 didknowingly atlem ptto persuade,induce,entice,and coercean individualwhohad notatlained

 the age of 18 years,to engage in sexualactivity for wllich any person can be charged with a

 criminaloffense,irlviolation ofTitle18,UnitedStatesCode,Sections24221)and3261(a).
                                  FO RFEITUR E AI,
                                                 L EG A TION S

                The allegations ofthislndictm entare hereby re-alleged and by this reference fully

 incorporatedherein forthepurposeofallegingforfeituretotheUnited StatesofAmericaofcertain

 property in w hich the defendant, G AR RETT M ICH AEL PAK O , a/k/a tdlfinlty B ear,'' a/k/a

 (<K .K ingr'' has an interest.

                Upon conviction ofa violation ofTitle 18,United States Code,Section 2252A ,as

 alleged in this lndictment,the defendantshallforfeitto the United States,pursuantto Title 18,

 UnitedStatesCode,Section2253($:
'




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                   a.      any visualdepiction described in Title 18,United States Code,Sections

     2251,2251A,or2252,orany book,magazine,periodical,film ,videotape,orotherm atterwhich

     containsany such visualdepiction,wlzich w asproduced,transported,m ailed,shipped orreceived

     in violation ofTitle 18,Urlited StatesCode,Chapter 110;                                        .

                   b.      any property,realorpersonal,constitm ing ortraceable to grossprofits or

     otherproceedsobtained from such offense;and

                   c.      any property,realorpersonal,used orintended to beused to comm itorto

     promotethecom mission ofsuch offenseorany property traceableto such property.

            3.     U/on conviction ofaviolation ofTitle 18,UnitedStatesCode,Section 1466A,as
     alleged in this lndictm ent,the defendant shallforfeit to the U nited States,ptlrsuantto Title 18,

     U nited States Code,Section 1467:

                   a.      any obscenem atérialproduced,transported,m ailed,shipped,orreceived in

     violation ofthis chapter;

                   b.      any property,realorpersonal,constitm ing or traceable to gross profits or

     otherproceedsobtained from such offense;and

                   c. ' any property,realorpersonal,used orintended to beused to comm itorto

     prom otethecom mission ofsuch offense.

            4.     Upon conviction ofaviolation ofTitle 18,United States Code,Section 2422,as

     alleged in this Indictment,the defendantshallforfeitto the Urlited States,any property,realor

     personal,wlzich constim tes or is derived from proceeds traceable to such violation,pursuant to

     Title18,UnitedStatesCode,Section981(a)(1)(C).
                   5.      Thepropertysubjecttoforfeitureasaresultoftheallegedoffensesincludes,
     buti:jnotlim ited to,an iphone 8 Plus,Serial:FD 1X 43W 6JCM 5,1M F,1:356735086631307.
                                                                  '
                                                                  l



                                                    4
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        A1lplzrsuanttoTitle18,UnitedStatesCode,Sections1467,2253($,and981(a)(1(C),and
 the procedures setforth in Title 21,United StatesCode,Section 853,asincorporated by Title 18,

 United States Code,Sections 225341$ and 1467(b),and Title 28 United States Code,Section
 2461(c).
                                              A TRU E BILL




                                              FO REPER SON



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                                        Qgt
 JuM AN TON IO G ON ZM EZ
 A CTFN G UN ITED STA TES A TTORN EY
                        wM
           r AH




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            X MONK
           ITED STATE S A TTO RN EY

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    kl-ssD.scl-
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                rz
 UN ITED STA TES DEPA RTX N T OF JUSTICE
 CH ILD EXPLOITATION AN D OBSCEN ITY SECTION
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                                                 UNITED STATESD ISTR ICT COURT
                                                SOUTH ERN DISTRICT OF FLOR IDA

  UN ITED STATESOF AM ERICA                                 CASE NO .
   V.
   GARREU MICHAELPAKO,                                      CERTIFICATE OF TRIAL ATTO RNEY*
                                                            Superseding CaseInform ation:
                                    Defendant/
    Courtoivision:(SelectOne)                               Newdefendantts) I--IYes I
                                                                                    --INo
    F-lMiami F-1KeyWest F-IFTL                              Numberofnewdefendants
    I
    --IWPB ry'-1FTP                                         Totalnumberofcotmts
            1.lhavecarefully consideredtheallegationsoftheindictment,thenumberofdefendants,thenum berofprobable
              witnessesandthelegalcom plexitiesofthelndictm ent/lnformation attachedhereto.
            2.Iam awarethattheinform ation supplied on thisstatem entwillberelied upon by theJudgesofthisCourtin
              settingtheircalendarsandscheduling crim inaltrialsunderthem andateoftheSpeedy TrialAct,
              Title28 U.S.C.Section 3161.
            3.lnterpreter:(YesorNo)No
              Listlanguageand/ordialect
            4.This casewilltake 5 daysforthepartiestotry.
            5.Pleasecheck appropriatecategory andtypeofoffenselistedbelow :
                 (Checkonlyone)                           (Checkonlyone)
             I 0to5days              Iz                   Petty             (71
        .
             11 6to10days            (71                  Minor             EEI
             1ll l1to20days          g7l                  Misdemeanor       EEI
             IV 21to60days           (7q                  Felony            (Z
             V 61daysandover         Eq1
            6.HasthiscasepreviouslybeenfiledinthisDistrictCourt? (YesorNo) No
              Ifyes:Judge                                   CaseNo.
              (Attach copyofdispositiveorder)
              Hasacomplaintbeenfiledinthismatter? (YesorNo) No
              Ifyes:M agistrateCase N o.
              Related miscellaneousnumbers:
              Defendantts)infederalcustodyasof
              Defendantts)instatecustodyasof                                                   ,
              Rule20 from theDistrictof
              Isthisapotentialdeathpenaltycase?(YesorNo)
            7. Doesthiscase originatefrom amatterpending intheCentralRegion ofthe U.S.Attorney'sOffice priorto
              August9,2013(Mag.JudgeAlicia0.Valle)?(YesorNo) No
            8. Doesthiscase originatefrom am atterpending in theNorthern RegionoftheU.S.Attorney'sOfficepriorto
              August8,2014(Mag.JudgeShaniekMaynard?(YesorNo) No
            9. Doesthiscase originatefrom amatterpending in theCentralRegion oftheU.S.Attorney'sOfficepriorto
              October3,2019(M ag.JudgeJaredStrauss)?(YesorNo) No

                                                                                    .-''
                                                                                           .
                                                                              #       *

                                                                        Lacee Eliz beth M onk
                                                                        AssistantUni
                                                                                   ted States Attorney
                                                                        FLA BarNo.      100322
*penaltySheetts)attached                                                                           .     REV 3/19/21
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                          UM TED STA TES DISTR ICT CO UR T
                          SO U TH ER N DISTRICT O F FL O D A

                                     PEN AlLTY SH EET

 D efendant's N am e: G AR RE TT M ICH AEL PAK O ,a/k/a Rsfinky B earrM a/k/a RK .K ing''

 C ase N o:

 Cotmt#:1

 Distribution ofVisualRepresentationsoftheSexualAbuseofChildren

 Title18,UnitedStatesCode,Sections1466A(a)(2)and2252A(b)(1)
  WM in./M ax.Penalties:M inim llm of5years'imprisonm ent;M nximum of20years'imprisonm ent

 Cotmt#:2

 Attem pted Coercion and Enticem entofaM inorto Engagein SexualActivity

 Title 18,UrlitedStatesCode,Section2422*)
 frM in-/M ax.Penalties:M inim llm of10 years'im prisonm ent;M axirmlm oflifeimprisonm ent
 frR efersonly to possible term ofincarceration,does not include possible fines,restitution,
            specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
